      Case 3:16-cv-00789-CWR-FKB Document 157 Filed 12/22/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


 ARTHUR DOE, et al.                                                                 PLAINTIFFS

 V.                                            CIVIL ACTION NO. 3:16-CV-789-CWR-FKB

 JIM HOOD, et al.                                                                 DEFENDANTS



                                      FINAL JUDGMENT

       The parties have jointly moved for the entry of final judgment in the instant matter.

Accordingly, the matter is reopened and because defendant Jim Hood is no longer the Attorney

General, pursuant to Rule 25(d)(1) of the Fed.R.Civ.P., Lynn Fitch is substituted as the proper

party. The stay is hereby lifted, and all claims of Brenda Doe, Carol Doe, Diana Doe and

Elizabeth Doe have now been resolved. The claims of Arthur Doe are dismissed with prejudice

as moot, and judgment is entered in favor of the plaintiffs. The issue of attorneys’ fees shall be

addressed separately, but in no way does that issue delay the entry of this final judgment.

       IT IS HEREBY ORDERED AND ADJUDGED that this cause is dismissed with

prejudice.

       SO ORDERED AND ADJUDGED, this the 22nd day of December, 2021.

                                              s/ Carlton W. Reeves
                                              UNITED STATES DISTRICT JUDGE
